                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                       AT KNOXVILLE


    UNITED STATES OF AMERICA                                )
                                                            )
    v.                                                      )               No. 3:18-CR-063
                                                            )
    JASMINE LAGAIL MASON                                    )


                                  MEMORANDUM AND ORDER

           This criminal case is before the Court on the defendant’s pro se motion for

    compassionate release pursuant to 18 U.S.C. 3582(c)(1)(A)(i). [Doc. 34]. The United

    States has responded in opposition [docs. 37-38] and the defendant has not replied within

    the time allowed by this Court’s Local Rules. For the reasons that follow, the motion will

    be denied.

                                        I.       BACKGROUND

           In May 2019, the Honorable Tena Campbell sentenced the defendant to a below-

    guidelines term of 120 months’ imprisonment for possessing methamphetamine with the

    intent to distribute, and for possessing a firearm in furtherance of that crime. The defendant

    is presently incarcerated at FMC Lexington with a projected release date of March 16,

    2027. See Bureau of Prisons, https://www.bop.gov/inmateloc/ (last visited Nov. 8, 2021).

    She now moves for compassionate release in light of the COVID-19 pandemic, obesity,

    hypertension, fecal impaction, asthma, anxiety, PTSD, and her rehabilitative efforts. 1


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 The defendant also raises issues pertaining to her conditions of confinement. Such claims might be
cognizable, see, e.g., Estelle v. Gamble, 429 U.S. 97 (1976), but they should be presented in a civil lawsuit in


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                               II. COMPASSIONATE RELEASE

        Section 3582(c)(1)(A)(i) of Title 18, United States Code, allows district courts to

consider prisoner motions for sentence reduction upon a finding of “extraordinary and

compelling reasons.” That statute, as amended by the First Step Act of 2018, provides in

relevant part:

        [T]he court, upon motion of the Director of the Bureau of Prisons [“BOP”], or
        upon motion of the defendant after the defendant has fully exhausted all
        administrative rights to appeal a failure of the Bureau of Prisons to bring a
        motion on the defendant’s behalf or the lapse of 30 days from the receipt of
        such a request by the warden of the defendant’s facility, whichever is earlier,
        may reduce the term of imprisonment (and may impose a term of probation or
        supervised release with or without conditions that does not exceed the unserved
        portion of the original term of imprisonment), after considering the factors set
        forth in section 3553(a) to the extent that they are applicable, if it finds that—

            (i) extraordinary and compelling reasons warrant such a reduction ... and
            that such a reduction is consistent with applicable policy statements issued
            by the Sentencing Commission....

 18 U.S.C. § 3582(c)(1)(A)(i). Prior to the First Step Act, a motion for compassionate

 release could only be brought by the BOP Director, not a defendant.                    See 18 U.S.C. §

 3582(c)(1)(A) (2017). The First Step Act amended § 3582(c)(1)(A) to allow a defendant

 to file a motion for compassionate release after first asking the BOP to file such a motion

 on her behalf. See, e.g., United States v. Alam, 960 F.3d 831, 832 (6th Cir. 2020).

        The United States Sentencing Commission has promulgated a policy statement

 regarding compassionate release under § 3582(c), which is found at U.S.S.G. § 1B1.13 and

 the accompanying application notes. District courts in this circuit previously turned to



the prisoner’s district of confinement after the exhaustion of administrative remedies. See 42 U.S.C. §
1997e(a). There is no evidence that this defendant has exhausted her administrative remedies on those claims,
nor is she incarcerated in this judicial district.
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    U.S.S.G. § 1B1.13 to provide guidance on the “extraordinary and compelling reasons” that

    may warrant a sentence reduction but are no longer to do so, at least as to compassionate

    release motions filed by defendants (rather than by the BOP). See United States v. Jones,

    980 F.3d 1098, 1108 (6th Cir. 2020) (“[H]olding” that guideline 1B1.13 “is not an

    ‘applicable’ policy statement when an imprisoned person files a motion for compassionate

    release.”); accord United States v. Elias, 984 F.3d 516 (6th Cir. 2021). 2 “District courts

    should [still] consider all relevant § 3553(a) factors before rendering a compassionate

    release decision.” Jones, 980 F.3d at 1114.

        A. Exhaustion

            The defendant has previously submitted a compassionate release request to the BOP,

    and more than 30 days have passed since that request was received by the warden. [Doc.

    34; doc. 37, Ex. 1]. The Court thus finds that it has authority under § 3582(c)(1)(A) to

    address the instant motion. See Alam, 960 F.3d at 832.

        B. Merits

            As mentioned above, in support of her motion the defendant cites the COVID-19

    pandemic, obesity, hypertension, fecal impaction, asthma, anxiety, PTSD, and her

    rehabilitative efforts.

            At the defendant’s prison, there are currently one inmate and two staff members

    positive for COVID-19, with 559 inmates and 106 staff having recovered, and nine inmate

    deaths. See Bureau of Prisons, https://www.bop.gov/coronavirus/ (last visited Nov. 8,

    2021). These numbers are historically significant, but the Court simultaneously notes that


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    The parties in this case have not addressed any guideline policy statement other than § 1B1.13.
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 outside the prison setting our nation remains in crisis in terms of COVID diagnoses,

 variants, hospitalizations, and deaths. Further, the COVID-19 pandemic cannot alone

 justify compassionate release. See, e.g., United States v. Shah, No. 16-20457, 2020 WL

 1934930, at *2 (E.D. Mich. April 22, 2020) (“[S]peculation as to whether COVID-19 will

 spread through Defendant’s detention facility . . . , whether Defendant will contract

 COVID-19, and whether he will develop serious complications, does not justify the

 extreme remedy of compassionate release.”); see also United States v. Raia, 954 F.3d 594,

 597 (3d Cir. 2020) (“[T]he mere existence of COVID-19 in society and the possibility that

 it may spread to a particular prison alone cannot independently justify compassionate

 release[.]”).

        Additionally, at the defendant’s prison 395 staff and 1,041 inmates have now been

 fully vaccinated. See Bureau of Prisons, https://www.bop.gov/coronavirus/ (last visited

 Nov. 8, 2021). After refusing vaccination in February 2021, the instant defendant received

 her first dose on August 10, 2021. [Doc. 38]. The medical record before the Court, which

 was generated only two days later on August 12, 2021, does not show that the defendant

 has received her second dose, but there is also no indication that the second dose is not

 available to her. [Id.].

       BOP medical records further confirm that the defendant has been diagnosed with,

 and receives treatment for, hypertension, obesity, anxiety disorder, PTSD, unspecified

 constipation, allergies, and “unspecified abnormalities of breathing.” [Id.]. Cysts have

 been noted on her left kidney and left ovary. [Id.].



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       The BOP categorizes the defendant as Care Level 1. [Doc. 37, Ex. 2]. “Care Level

 1 inmates are less than 70 years of age and are generally healthy. They may have limited

 medical needs that can be easily managed by clinician evaluations every 6 to 12 months.”

 See http://www.bop.gov/resources/pdfs/care_level_classification_guide.pdf (last visited

 Nov. 8, 2021).

       Obesity and certain mood disorders are conditions which “can” increase the risk of

 severe illness from COVID-19.           See People with Certain Medical Conditions,

 https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-with-medical

 -conditions.html (last visited Nov. 8, 2021). The same is “possibly” true for hypertension.

 Id.

       However, as noted, the defendant has received her first dose of the COVID-19

 vaccine, and there is no indication that she has not also received the second dose, or that

 the second dose is unavailable to her. The Sixth Circuit Court of Appeals has recently held

 that, “even recognizing the purported seriousness of his condition,” a defendant’s

       access to the COVID-19 vaccine substantially undermines his request for a
       sentence reduction. To that end, we agree with the Seventh Circuit that a
       defendant's incarceration during the COVID-19 pandemic—when the
       defendant has access to the COVID-19 vaccine—does not present an
       “extraordinary and compelling reason” warranting a sentence reduction. United
       States v. Broadfield, 5 F.4th 801, 803 (7th Cir. 2021) (Easterbrook, J.). After
       all, with access to the vaccine, an inmate largely faces the same risk from
       COVID-19 as those who are not incarcerated. To be sure, inmates in some
       respects face social distancing challenges distinct from those of the general
       public (although perhaps not entirely unlike students in dorm rooms,
       individuals in medical and assisted care facilities, and even residents of densely
       occupied apartment complexes). But to the extent prisons do offer some unique
       challenges, the vaccine now significantly reduces the risks associated with
       COVID-19. And at this intersection of law and science, we find wisdom in
       Judge Easterbrook's assessment that “for people living in close quarters,
       vaccines offer relief far more effective than a judicial order.” Id.
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 See United States v. Lemons, 15 F.4th 747, 751 (6th Cir. 2021).

      Even more recently, the Sixth Circuit issued its published ruling in United States v.

 Traylor, ___ F.4th ___, 2021 WL 5045703 (6th Cir. Nov. 1, 2021). In Traylor, the appellant

 sought compassionate release “due to her various health ailments (e.g., diabetes, sleep

 apnea, asthma, obesity, being a recent organ transplant recipient, and use of

 immunosuppressive therapy).”       Id., 2021 WL 5045703, at *1.        The Sixth Circuit

 “[a]ccept[ed] the serious nature of Traylor’s alleged medical conditions” but nonetheless

 held that her argument was foreclosed by Lemons’ “holding that ‘a defendant's

 incarceration during the COVID-19 pandemic—when the defendant has access to the

 COVID-19 vaccine—does not present an “extraordinary and compelling reason”

 warranting a sentence reduction.’” Id. (citing and quoting Lemons).

      The published holdings in Lemons and Traylor bind this Court. See, e.g., Grundy

 Mining Co. v. Flynn, 353 F.3d 467, 479 (6th Cir. 2003). As such, the present defendant has

 not carried her burden of showing extraordinary and compelling grounds for compassionate

 release. For that reason alone, her motion will be denied. See Elias, 984 F.3d at 519.

      The defendant’s rehabilitative efforts do not impact the Court’s conclusion, even

 though her coursework and apparent lack of disciplinary infractions are certainly

 applauded. Congress has provided that, in the context of 18 U.S.C. § 3582(c)(1)(A),

 “[r]ehabilitation of the defendant alone shall not be considered an extraordinary and

 compelling reason” for compassionate release. 28 U.S.C. § 994(t).

      In any event, compassionate release in this case would also be inconsistent with the

 18 U.S.C. § 3553(a) factors. Pursuant to that statute,

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      The court shall impose a sentence sufficient, but not greater than necessary, to
      comply with the purposes set forth in paragraph (2) of this subsection. The
      court, in determining the particular sentence to be imposed, shall consider –

      (1) the nature and circumstances of the offense and the history and
      characteristics of the defendant;

      (2) the need for the sentence imposed—

         (A) to reflect the seriousness of the offense, to promote respect for the law,
         and to provide just punishment for the offense;

         (B) to afford adequate deterrence to criminal conduct;

         (C) to protect the public from further crimes of the defendant; and

         (D) to provide the defendant with needed educational or vocational training,
         medical care, or other correctional treatment in the most effective manner;

      (3) the kinds of sentences available;

      (4) the kinds of sentence and the sentencing range established for—

         (A) the applicable category of offense committed by the applicable category
         of defendant as set forth in the guidelines—

               (i) issued by the Sentencing Commission pursuant to section 994(a)(1)
               of title 28, United States Code, subject to any amendments made to such
               guidelines by act of Congress (regardless of whether such amendments
               have yet to be incorporated by the Sentencing Commission into
               amendments issued under section 994(p) of title 28); and

               (ii) that, except as provided in section 3742(g), are in effect on the date
               the defendant is sentenced; . . .

         ...

      (5) any pertinent policy statement—

         (A) issued by the Sentencing Commission pursuant to section 994(a)(2) of
         title 28, United States Code, subject to any amendments made to such policy
         statement by act of Congress (regardless of whether such amendments have
         yet to be incorporated by the Sentencing Commission into amendments
         issued under section 994(p) of title 28); and
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          (B) that, except as provided in section 3742(g), is in effect on the date the
          defendant is sentenced.

      (6) the need to avoid unwarranted sentence disparities among defendants with
      similar records who have been found guilty of similar conduct; and

      (7) the need to provide restitution to any victims of the offense.

 18 U.S.C. § 3553(a).

      In this case, the defendant was arrested in possession of more than 238 grams of

 methamphetamine, a substantial amount which would have caused incalculable harm to

 this region. [Doc. 20, ¶ 13]. Further, when arrested, there was a loaded pistol in the

 defendant’s purse and a loaded AR-15 rifle in the vehicle she was driving. [Id.]. Although

 the defendant has no prior convictions [id., ¶¶ 31-33], her conduct in this case was

 extremely serious and is deserving of harsh punishment. Additionally, the defendant’s

 obesity predates the instant offense and was insufficient to keep her from dealing

 methamphetamine while armed. [Id., ¶ 40].

      More than five years of actual time remain on the defendant’s 10-year sentence. See

 United States v. Kincaid, 802 F. App’x 187, 188 (6th Cir. 2020) (Several § 3553(a) factors

 “permit the court to consider the amount of time served in determining whether a sentence

 modification is appropriate.”). Compassionate release on the facts of this case would not

 reflect the seriousness of the offenses of conviction, would not promote respect for the law

 or provide just punishment, and would not afford adequate deterrence or protect the public

 from future crimes of this defendant.




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                                 III.   CONCLUSION

       As provided herein, the defendant’s motion for compassionate release [doc. 34] is

 DENIED.

            IT IS SO ORDERED.

                                                     ENTER:



                                                             s/ Leon Jordan
                                                       United States District Judge




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